Case 2:03-cr-20305-SH|\/| Document 3 Filed 07/05/05 Page 1 of 2 Page|D 2

UNITED sTA'rES DISTRICT coURT B,,,_M__
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UNITED STATES OF AMERICA ) W;D @; L\; 3dqung
) . h

Vs. ) Cr. No. 03-20305-Ma
)

DAMIEN HUGHES )

APPLICATION ORDER and WRIT FOR HABEAS CORPUS AD PROSE UENDUM

 

Stuart J.Canale, Assistant U.S.Attorney applies to the Court for aWrit to have Damien

Hughes, TOMIS# 266306, DOB 6-19-80, SSN XXX-XX-XXXX, is now being detained in the Whiteville
Correctional FacilitL Whiteville, Tennessee, appear before the Honorable Diane K. Vescovo gm

July, 2005, at 2:00 p.m. for initial appearance and for such other appearances as this Court may
direct.

Respectfully submitted this 1__st_ day of July, 5.

/MW»%

Assi;tant U. S. Attorney
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Upon consideration of the foregoing Application,
DAVID G. JOLLEY, U.S. MARSHAL, wESTERN DISTRICT or TENNESSEE, MEMPHIS TN
SHERIFF/WARDEN,

YOU ARE HEREBY COMMANDEDto have Damien Hughes

appear before the Honorable Diane K. Vescovo. at the date and time aforementioned

A¢L!/;M, /( ¢,MFW/

UNITED STATES MAGISTRATE JUDGE

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ENTERED this Fday of Jul , 2005.

This doc\.ment entered on the docket sheet in compliance
with Ho|e 55 andlor 321bi FRCrP on ' '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:03-CR-20305 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

